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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

JENNIFER CESPEDES,                  )
                                    )
      Plaintiff,                    )
                                    )
v.                                  ) Civil Action No.:            8:22-cv-02815-VMC-SPF
                                    )
JOSE LUIS BELTRAN DMD MD LLC,       )
                                    )
      Defendant.                    )
____________________________________)

                     SECOND AMENDED NOTICE OF MEDIATION

       Plaintiff, through counsel, advises the Court that the parties have scheduled mediation for

1:30 p.m. on April 14, 2023. The mediation will be in person at the mediator’s office in Tampa.



Dated: March 17, 2023

                                            Respectfully submitted,

                                            THE LAW OFFICE OF MATTHEW BIRK



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